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                                                                                                                                          •          FIRST WeSt e
                              •                                         •             •   •               .   .   •   . • • • .
                                                                                                                                                             TRUST
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                                                                                                                                              Investment Servkes wed Custody Agreement
         •                                •
                                                  • •
                                                                                                      •                                                                                                •         •

                                              •
                              THIS ACREEM ENT C'Agrectident") is between the tmdersigned ("aent"), and First Westan   Bank •C‘FV1/173"),. Vient                                                                          •



     •
                   and FWIB agree: that all rt&-iets ("Client Assets") deposited in 014 Mount ("JkocotAnt") shal) be managed atxl administered
                 • according to the following pmvlsions afthis Agreement:
                                                                                                                                                                                                                                                              •

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                 •                                 . . - "••• ' • .
                              I.. • • • • • • • Fifteetiye Date •
                          . .                     .. •••..••• .-................                                  •
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                                                                                                                                                                                                                             •                                            •

                           . .
                       This . Agmement.• and till collititerat aticernetits contempt-rated hereby, shal hecorne effeclive commencing ort the date of                                                                                                      •

                     ' execution and include the first Nil calendar quarter thereafter, °rho term "MP calonriarciliartee" moons 0 calkmar quarter which                                                                  •

                                                                                                                                                                                                                                         •        •
                       begins following 1110. Climes delivery of the Managed Assets,
                                                                                                                                                                                                                             •




                                         • • .•                   . .                                                             •
                                                                                                                                      •       •
                                                                                                                                                                                                                                                                  •

                         ) • • • • Aceepta ric€           •Assefs: SIM. shalt receive i(1 acrxrdano with this Agrbernent, such cas),,, segurities and other                                                                                           •


                                        property that may from tirrie to tirne be delivered to FriVII3 by or for Ow account of Cliont. FWTB is not obligated to                                                                  •
                                                                                                                                                                                                                                             • •

                                        accept and hold assets that i₹ deems to be inappropriate including, )tit not limited to, mai estate o€ tangible personal
                          •             prOperty.                                                                                                                                                                                                                         • •


                                                 .• •          • • • • . ..                                                                                                                                                                                       •


                       b• .             Co:Welty and Safekeeping; . With reipect to ail assets in the Account, MT'S agrees ktxp ell assets safely,. collect
                     •                  all dividends., interest, other income end the proceeds of !..iales end redemptions on assapr, and distrlbute. not income                                                                                 •
 •
                               • • nod principal as directed by Client. FWTB is authorind to sign any 47.141rtiMaks and doularations reasonably necessary                                                                                                                     •

         •                  ..        .                                                                                                                                                                                  •

                                     ' 'Or igmenient for the collet:11;m of dividends, interest or inCOM on )iiSSetS held in the Amount. FWTB is authorized
                      •
                                        to hold met; in fle Account. :ln the name of its nomince(s), registered in the name of the Client or in bearer form.
                                                        •
                                                                                                                                                                                                                                                  •

         •                                                  • •                                                                                                                                                              •

                            .                         .                     ...• .
                                                                            •


                       c       ' ...Irrsosartiongt -FWTB shall baW the authority to execute orders V) clear the ptachase. or sale ofany securides Upon
                                . • • • aka( of designated third party instrtrotionK sell or buy fitwions of shares to equal whole SilareS; end bold mets in                                                                         •

                               .' '' the txtroe .of a neirkee -or in bearer form; ail as FWTB, in its sole discretion, may (loam proper ,.zn€ess Client or                                                                                                        •



                            • • • • • designated thini party shill have previously directed otherwise.
                                                                                                  •


                              d)                                                Voting Autherity.„ Corporate Actton: tlient authorizes FWTB or its designated third party to act with tweet to
                                                                                                                                                                                                                     •
                                                                                proxies, waxTents, tenders, rights, options, puts„ cells, class action filings, consents or other zlee,ViritiO5 or ttotions                                                               •

                                                                                affecting the Account, FWTTI has adopted and impternonted st,Pritton p,,olieies told procedures that it believes are
 •
                                                                                'easonably dfmigned !:o ensure that proxies are voted in the best interest of clients in those cues where a 4dient has                                                • •
                                                                                                                                                                                                                                              •
                                                                                contractually given proay voting responsibility to FWTB. Votes am Cast in •neordanCo With }"WriV§ fiduchry duties
                                                                                and S.Lie Rule 2tRi(A),-6 under the investment Advisers Act of 190. Tho proxy voting guidelines have been tailored
             •                                                                  in ram these rules and the longr standing fiduciary standards and responsibilities for BMA enotmts set OM byte
                      •
                                                                                l3cpartatent. of Labor.

                                      •
                                                                                l'WTB has. contracted BMO ilarris Bank N.A,, to boodle .administrition ond voting of Olen( proxies. M0 wilt vote                                                                      •



             •            •                                                     all proxies in the manner that, in the best,itidgment of BMO is in the best economic interests afFitYTH*s clients. BMO
                                                                                addresses potential material conflicts of interest        having a predetermined voting policy ("Policy"). Vor tbose
                                                                                propossis that require case-by-case determinations, or in ills-0MM w)rere special circumstances may reilitht myth&
                                                                                from the predetermined Policy, the Proxy Officer will determine The vote in the best interests of rvirrs'
             •                                                                  without consideration a any benefit to BMO„ its effiflates„ its emirloyees, it's other clients, en.stomrs, service
                                                                                provAers or any other party,
     •



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                                                                                                                                                                                                           Ex. 8
                                                                                                                                                                                                               FWTB 0000414
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                                                        FIRSTWttAt e c n
                                                                  TR if sT

              - A Proxy Mit es wili be designated by the BMO Trust hivestment Committee who will have the authority to direct the vote
          - .s on proposal t• that i-equire esse-by-ce.se eetenninaeons Ca' where there has been s recommendation not to vote in accordunce
             . . with the pre-dew:mined Policy. la deierminine the vote on eny proposal for which the Proxy Officer has responsibility. thc
                 Officer shall at all times, act in accordance with and pursuant te the Pclicy.

            - - no- Proxy Officerwill report to the Trust investment Committee. The Trust Investment Commhice will conduct a Peeadic
           - :review of the Policy to ensure sonsistency with internal polieies !Ind rcgularory requirements and develop eddiesmal
                Fidelities lo risist in the review of proxy proposals. The Trust Investment Consmittne will els° develop and revise flirthor
                procedures to 13M0 in the votinp cf proxles pursuant to the Policy, whkh may include the use of a third patty vender for
                purpoites of recommendations on particular shareholder votes being soIlcited, voting ef poncies and/or recordkeeping.

              Addisonal information regarding proxy voting policies and procedures can be obtained hy contacting your relationship
              manager. aisles may aiss request information on voleo cast by making a request to their relationship manager by phone
              or PWT1I's mailing address. FWTFI shell provide voting procedures to Client upon request

  o)           Condisloaal Credit: f WTR may, but is not nscuired to, credit rhe Acvount s-onditionally on the payable date with interest,
               dividends. dIstributions. redemptions or other amounts clue. If FWTB is instructed to deliver securities or other property
               against paymert, FWTB may deliver them befose receiving payment and credit the escount with enticipased proceeds.
               Otherwise, rWTB wili credit these amounts to the ACCO'int on thc date of actual receipt and reconcile them to the account.
               If PWrB Inet credited the Account with an amount tefore collection. PWTI3 is entitled to recover any credit from Client
               and FWTB may reverse the credit as ofpayeble or settlement dale ifand to the Weal PWTI3 does not receive t'scse amounts
               in the ordinary course of business.

  I)         • Seltelion of Agents; FWTB :s authorized to retain and employ such agents as it deems appropriate Including uccountants.
             i attorneys or other agents. FWTB will opt be ilab.c for acting in good faith ir, accordance with the reasonable advice and
               consultation ofsuch egunts.

   3.          Discretionary i vesture t Au       AI

  Ctiott hereby grants to FWTR, full and complete discretion end authcrity with respect to managing the investment ofaientris Asset*.
  This appoinimeet includes that of agent and attorney-in-fact with full discretiomary power sod authority without implied limitation
  tu purchase, sell. excharige, convert. trade end rjenetelty to deal lo securities nnd propeny enmprising the Client's Assets. FWTES
  will use reasooable efforts to obtain best price and execution in respect ofsecurity transactions placed for the Account. FWIII sMli
  not be respcnsible for any acts or omissions by any suct broker provided that FWTR is not negligent in the selection ofsuch booker.

  Client resetves The autlanity to direct mid lock:tenni:se at any and all times the selection of any sccurity for purchase snd sale in their
  accosnt: heneever the exercisa of this authority, with respect to One or mom individual becorities, shall nct be construed as a
  revocation of the authority granted to PWTII provided for in this agreement.

   4.,         assegrrifts F*Irlbited

  Cash overdrafts in the At:uount will :KV be permitted. However, to the extent they do occt.r, FIN in štS sok discretion,Inny permit
  holds to be advitneeo to the Account and charge the account additional fees for the ureounm advanced for the length of time the
  overdraft exists. Cliem grants to FWTt3 a continuing security interest tn the Account to secure the payment tOr any transecticus
  effected for thc Account and thc repaysmun of any funds advanced to the account.

   S.          fierier/it Renedi

   Dwindle Woe adds Agreement, FWTR will provide statementsefaccount no less thee quarterly. Pleme contact your relationahip
   manager within 60 days from the receipt of your initial stateinent if you have questions or cooecrns :elated to your statement or
   potential errors within yew state:nent. In your correspondence, please provide the following information




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                                                                                FIRST We:- t
                                                                                       Tit UNT
                                                                                                                                               •              •
                                                                                                                                                  ..                 •

                                      •      AccountNeme and Account Number.                                   .
                                      a .    Your question or description of the potential error or transfer. Please explain why you believe there is an error
                                        .    within your statement or transfer infurmation.
                                      •      The dollar amount and shure amount (lf apnlicabie) related te the potential error.
                                      •      Supporting dccuments (if applicable).

                        You win receive a cenflrmation cati once yout requeo hat beee iteeived. Your inqu.ry will bc investigated within 48 hours of this
                        call. If 0.0 invedination requires more thee 10 days, we will contact you end determine a tenrorary reschttion until die Investigation
                        is complete
                  •
        •


.' ••                   6.        )nvcstmettt
                                    v estmeet Pelnellencemitt/PnrkIntnnnSERCR9110.0

                        FWT0 shall prcvide Client with an iniestrtient -policy statement outlining the Client's investment strategy and guals ("lavesonent
    - .                 Policy .icatentent"), enheequent to the execution of this Agreement based on, among other things, information received (nom Client
                        ounining their financial situalion. goals and inveelment okoctive of their Managed Assets. The investment Policy Statement shall
                        become an addendum to this Agreement hercto, upon finalization of rhe investment strategy developed for me Client and execution
                        of the Investment Policy Statement by the Clknt.

                        Within six weeks after the end preach unictidar quartet., commencing ten the ti-st nril ea:ender +tatter after Client's delivery of the
                        %matted kteett, FWTIS will provide Client with im etettomixed written rcpor evaluating the perforinance of the Managed Assets
                        in the fonnat then generally used hy PWTB.
                                                                •
                                                                                •                                                                                            •

                        7.        Feel and rummer
                                                                            •




                        Client shall pay FWTB a foe foe itIVCSIThent adviimy services, custody and transsenon services ("Portfolio Foe"). The Portfolio Fee              •

                        shall begin scenting upon receipt of Clleat'at Assets at FWTB. The Portfolio Fee shall be charged to the Client's accoura(s) each
                        eatendir quaree or portion thereof, in arrears, based on a percentage ofthe average daily matket vetue of the Client's Assets doing
                        the ealendur quuner. Fees are calculated based on actual number of days within the year.
                        FWTB may ditiet client fueds to be investee iit shares or similar ownenthip itawests ofmutual funds, privately offered investment
•           • •       . &lids. managed amounts or other investir.ent fluidic In addition to the Porriblin Pee charged directly by FWD, the client may also
        •
                        pay a direct asset management fee for separate accocnt managers including managees affiliated with FWTB and an indirect azet
•                       munagement fee to each investment fund or mutual fbnd. The client should refer to the prospectus oo offbring document fcr further
    •
                        information, The Pertfolio Feo will not be reduced by any ititernal Rea including management Nes ofmutual funds, hedge funds or
                        money market rends purchased for the account. Theso freer will be cherged directly to the timci arid are further described ia the feed
                        prospectus.. In addition, the client may pay a commission to the executing broker, i., the cilSa of eqeity smut ides, which will be
                        inc:uded In the totai cost of thc rradc. Attached hereto as Exhibit A to this Agreement. is a list of FWTB's third patty separate
                        arecount managers ('lub-Advisers') and its affiliated company's approved list of inveetment prednets ("Affiliated Compeny
                        Producte"), in effect at tbe time of execution of this Ageeement, along with the respective managemcnt fees. Client should refer to
                        FWTB's weeks ittr a taerent list a:. www.merw.crete and log in to the secure penal, eistealth Trust and Investment Management".
                        Client should also reel the fund prospectas or offering documents for addidona1 trifenmesion mated to fees anti expenses.
                        By your signature below, you authorize end direct FWT11 to obtain payment of the Portfolio Fee and/or asset management lee,
                        dinrctly from your account(s) held with PWTEI, wItheut any addinotint prior upproval from you. FWTB will provide, at minimum
        . .
                        quanerly. a eurnodlal statetneet to Client reporting the fee transaction
    •
                        The Portfolin Fee schedule, which is included in the investmen: Policy Statement. may taw incliide a minimum annual fee per
                        relationship. PWTB shall notify the client in writing. ()rimy ehanges to the fee schedule.

                         8.       $tandard of Care and indemnification

                         PatiTEI shall give to the securities in its custody tho %me degree of care and protection which it gives to ies even property. rwm
                         shall be under no duty to take or omit to lake        aoic11 with reepect to arty assets nein irt this Account. except in accordance with



                             Fw rn 08.2016                                                                                                         3




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                                                                       FIRSTWet
                                                                         TRUNT
            the foregoina previsiens. FWTI3 shall not be liable far eny loss or depreciation finzluding, w ghoul limitation, any decrease in value
            or assets held in the account due to malset activhy) resulting from any action or inaction of FWTB taken In good faith persuam to

            the terms of this Agreement or as the rerun of following a direction or instructim from Client. Client agrees to indemnikand hold
            harmless FWTB. and EWTO's officers, employees and affiliates, from and egainst any loss. damage, and expense (including
            reasonable nuorneys' fees) not directly resuldng fFam n breach hy PINTA ()fits standard of awe or its wiliful Inisciandect. TWTB's
            right to indemnification under this Agreeeieut      sun ive the termination of this Agreement for any reason.

            9.         Wainer of1.in tinny for hteellynee

            la retum for Clienrs arceatence ofthe authurity granted to FWTB in this Agreement, atm agrees that neither FWTFI nor its agents
            shell be liable ter any act, omission, loss, depreciation, or error in judginent thst May Occur le connoctkin with Peals's handling of
            Client's account. eecept. !jar such that may result from FWTB's gross negligence or willfhl misconduct. Client understands that
            nothing in this Agreement shall be constnak as a waiver or limitation cf any rights that Client may have under any applicable fedet al
• •         or state emus-ides latva
•



            t O.       TemMutton

            This Agreement may be terminated hy either party upon written notice to the other. Notice ofterMination shall r.ot affect trance:Aims
            initiated or aervicre performed prior to termination. Ileac termination. FWTB shall deliver the assets its its custody as diroctcd hy
            Client or Client's lege; niccesson Upon receipt of notice of terminatian by FWTB, or Client. all aecrned and uncollected tims will
            bc charged to the Client's aceocnt(s), incit.dir.g rcasonable costs associated with such termination.

            11.        Baku                                •
                                                                   •




            Any notice required or permitted ender this Agreement shell be effective three (3) bus'ness days eller sere certified mail. return
            receipt icquested. or one ( I) day after deposit with a reputable overnight courier. to the other parties the address listed following
            their signature below.                             •

                                                           •


            12.        MiscellanTous
                                           . •• .
            a)         Covernhtg Lane 'lige Agreerniert shall be geverned by thc lawa ef Coloredo, without regard to any conflict af Iuw
                       provisions. . . •       •
                                                   •   •
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    •
            b)     •   Flatlet A,greement,Suecessor: This Agreetnent represents the entire egreement between Client and FWTB, and except as
        •              provided in Section 7 with respect to fees, shall not bc amended except ir. writIng signed by both parties. Any designation
                       ofFWTB in this Agreement siial: inutude les corporate successor. Any designation of Cllent will include its legal successor
                       including the. personal representative (executor) era deceased individual Client.

            c)         Relianec on lagractiens: Fwm it ceherized to rely end act upon any verbal, written or gime-elk counnunication or
                       ir.structions from Client that it reasonably bclieves to be genuine. FWTB is not responsible Ter the failure of any eketronic
                       media                                                                                                                               •




            d)         Severabilltan The invalidity or uneneceeability of any provision of :ids Agreement shalt not :Met or impair other
                       provisinsis.

            e)         Binding Agraemout; Client represents anii warrants that all necessary action hoe been taken to authorize the execution of
                       this Aerement.and that this Agreement represents its legal and binding obligation.

            t)         Catastrophic Events: FWTB shall not bc beide to Client to the extent FWTB's performance under this Agrerar.em ic
                       delayml or prevented by events beyorcl FWTB's reusonable control. inetedine, without limitation, revolution or otten eivil
                       dieordars: wars acts of enemies, acts oftennrisee strikes; laeor disputes; naturat discsters; federal, state or municipal ac ion;
                       statute; ordinanee or regulation.




                 FWTri uK Nue                                                                                                           1




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                                                        FIRSTWestevn
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  1,)        Privacy: First Western is committed to mointaining the confidentiality, integrity and security of personal information
             about ow. carent and prospective customers. We are confident of our :erivecy practices and want you to know how wc
             protect this inlet mation and use it to service vour acz.Zimr.
              You (10 not havc to contact us to benefit Alm First Western's privacy :irotections. They apply automsicnIly tn all of nur
              cusi-omers and pmspective customers. Please refer to First Western's enclosed Privacy Pettey.

  h)          Investments offered through First Western Trust Bank:
                  •   Are not bank deposits;
                  • ' Are not FDIC Insured;
                  •   Mc noi guaranteed by nor obligations of MTH or any of its affiliates; and
                  •   Involve risk, Including possible loss of the principal amount invested.                  •


                                  •                                                                                 •

  13,         Sneclei Provisions                        -
                                                   -
  a)          Money Market Funds FWTB apPollei ite automated cash management system ("ACMS") to theca:eh balances maintained
              in the Account fioni tinie to time. Client understands and ali,ittes that:

             "(i) ActountAsitins inky be invested in First Western Trust )aak.'s instinMorita money market ("FWTB Nar). Tho F WIR
              MM is notes/teak)? as defined under the Securities Aet of I 933 or i 934. Assets in the PWTif MM are considered deposits
              of the bank tmd ere tedurally insured. guaranteed by the FDIC, up to the lege. FDIC limits.
                                           •

              (ii) Aceountassets may alsc, from time to time, he inveqed in shares of BMO Funds and other money market hinds
              ("Funds"); tiii) Funds held in the AC600iit bea certain expenses anti pay certain fees to investment advisors end whet
              %mice providers; (iv) IWTEl and its affiliates provide custodial, investment management, administrative, shareholder and
              other services to, and may receive lees from selective money market funds held in the Account; and (v) fees that tnay be
              received by FWTB i rtc Its affiliates and other Funds ,teld in the Account are in addition to FWTB's fees for services under
              thh Agreement. Money market `loud shares ale nut depuelts or obligations of, or emlorsed or guarameed by FWTB oe any
              of its affiliates. Muney market II:nd shafts are not federally insured or guareaseed by die FDIC, the Federal Rescrve Board,
              or any ofaer government agency. Money uvarket fund investments involve risk. intluding posaible loss of principal.
        •
                              •

  b)        . - Diatomite of Beneficial Ownership: Furst:so to SEC Bele 1tib-2,                    is required to provide -certain beneficial
                ownerehip Infhtmatkm to iasners of securities l•.eld in aceoimts. Clicrtt tinderstends that, unless Client objacts in writing
                below. FWTB will disclose the name snd address of each beneficial owner of seeurkies heid in the Account by FWTR in
                nominee form to the Issues of those securities.

              D    Do not disclose CIient'S mune, aedfess ond the number of shares held in the Acetrant in nominee name to the issuer of
              the wvArities.

  c)          Authorized Persons FWTB may rely on hismictions or directions from any designinel person or third pnrty its directed
              by Client and certified in writing. or mil notification by Client that such authorization has been revoked or modificd.
              FWTB is authorized to rely and act upon instructions and directiona received from the authorind persons in writing,
              verbally or by any electral:c form at commor.iention. All such instructions and directions that IFWTH believes :o be genuine
              shall be hinding. FW re is not responsible for the failure of any trammiasion of instructions by any electronic media.




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                                                        FIRSTWeSt ern
                                                                   TRUST



   Acknowledgements and Signatures

   I. the undersigned Account Owner, hereby represent that I (we) have full power, authority and capacity to execute this Agreement.
   Client agrees to advise FWTB of any event, which might affect its authority. or the validity of this Agreement. 1 (we) also
   acknowledge that I (wc) havc received a copy of this Agreement for my (our) records.

   Client:

   Account Title:                   The Aaron H. Fleck Revocable Trust
                                                            `— 1‘
   Account Owners Signature: 0                                   ""C   -


   Print Name:                         3,tot.Ax4,
   Account Owncr's Signature:

   Print Name:                         A Arwo               c 14.

   Date:                                  /9//ig

   First Western Trust Bank Authorized Signature:
                                              _/~            - 7
   B :
                                              -           ~-
   Print Name:
                                                    1
    I itle:                           ‘2:!./ '               ,

   Date:                                          //
   Address                          1900 le St. Ste. 1200
                                    Denver, CO. 80202
                                    United States




      FWTB ND 08_2016




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